Case 2:03-cv-02244-SHI\/| Document 107 Filed 08/10/05 Page 1 of 3 Page|D 90
UN|TED STATES D|STRICT COURT

WESTERN DlSTFi|CT TENNESSEE
MEMPHIS (901) 495-1200
wEerRN DIVlSIoN FAx (901) 495_1250
JACKsoN (731> 421-9200
FAX(731)421-9210

THOMAS M. GOULD
CLERK OF COURT

SHV 90
.ie uaw

01
-%

'F
`

August 10, 2005

 

01 =*) Hd

MICHAEL LUSTER vs. ML TENNESSEE APARTMENTS LP, ET Al_..

RE:
03cv2244-Ma

Dear Counsel:

It appears in the above referenced cause that the parties are unable to agree on the taxation

of costs.
Pursuant to Rule 54.1 of the Local Rules for the Western District of Tennessee, the Clerk

is required to assess costs, after notice and hearing Accordingly, the Clerk Will tax costs on
Thursdav. September 8, 2005 @ 10:0() a.m.1 in the Clerk's office located in Room 242, Clifford

Davis Federal Building, 167 North Main Street, Memphis, Tennessee. You may appear at that
time and make any argument you believe relevant, but you are not required to attend. The Clerk
will accept the citation of any law the parties think appropriate, but such submissions must be

received no later than one week prior to the scheduled hearing.

Sincerely,
Thornas M. Gould, Clerk

Deputy Clerk

/ehg
c: Docket Clerk

262 FEDERAL BUILDING
lll S. HIGHLAND

242 FEDERAL BUILDING
167 N. MAlN STREET
MEMPHIS, TENNESSEE 33103 JACKSON, TENNESSEE cl|i

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 107 in
case 2:03-CV-02244 Was distributed by faX, mail, or direct printing on
August 10, 2005 to the parties listed.

ESSEE

 

Danese K. Banks

COCHRAN CHERRY GIVENS Sl\/HTH & BOLTON
One Cornmerce Square

Ste. 2600

l\/lemphis7 TN 38103

.leffery S. Glatstein

SPICER FLYNN & RUDSTROM
80 l\/lonroe Ave.

Ste. 500

l\/lemphis7 TN 38103--246

Christopher T. Byrd

WEINBERG WHEELER HUDGINS GUNN & DIAL, LLC
950 East Paces Ferry Road

Ste. 3000

Atlanta, GA 30326

Robert D. Flynn

SPICER FLYNN & RUDSTROM
80 l\/lonroe Ave.

Ste. 500

l\/lemphis7 TN 38103

Brian P. Strength

COCHRAN CHERRY GIVENS & Sl\/HTH
P.O. Box 830419

Tuskegee7 AL 36083

Y. Kevin Williarns

WEINBERG WHEELER HUDGINS GUNN & DIALS, LLC
950 East Paces Ferry Road

Ste. 3000

Atlanta, GA 30326

lock M. Smith

COCHRAN CHERRY GIVENS & Sl\/HTH
P.O. Box 830419

Tuskegee7 AL 36083

Case 2:03-cv-02244-SHI\/| Document 107 Filed 08/10/05 Page 3 of 3 Page|D 92

Honorable Sarnuel Mays
US DISTRICT COURT

